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 6
     Attorneys for Debtor in Possession
 7
 8                          UNITED STATES BANKRUPTCY COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

10                                  LOS ANGELES DIVISION

11 In re
                                                      Case No. 2:22-bk-14858-ER
12 MYLIFE.COM, INC.
                                                      Chapter 11
13
                           Debtor and                 NOTICE OF MOTION AND MOTION BY
14                         Debtor in Possession       DEBTOR IN POSSESSION (1) TO
                                                      APPROVE LETTER OF INTENT, (2)
15                                                    FOR AUTHORITY TO SELL ESTATE’S
                                                      INTEREST IN EMPLOYEE RETENTION
16                                                    TAX CREDITS (3) DETERMINING THE
                                                      BUYER TO BE A “GOOD FAITH”
17                                                    PURCHASER WITHIN THE MEANING
                                                      OF BANKRUPTCY CODE SECTION
18                                                    363(M); MEMORANDUM OF POINTS
                                                      AND AUTHORITIES IN SUPPORT
19                                                    THEREOF; DECLARATION OF
                                                      ANTHONY MAZZARELLA
20
                                                      Date: December 7, 2022
21                                                    Time: 10:00 a.m.
                                                      Courtroom: 1568
22
23
24 TO THE HONORABLE ERNEST ROBLES, UNITED STATES BANKRUPTCY JUDGE,
25 THE OFFICE OF THE UNITED STATES TRUSTEE, COUNSEL FOR THE CREDITOR’S
26 COMMITTEE, PARTIES IN INTEREST AND PERSONS REQUESTING SPECIAL
27 NOTICE:
28

                                                  1
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 1         PLEASE TAKE NOTICE that Mylife.com, Inc. (“Debtor”), Debtor and Debtor-in-

 2 Possession in the above-captioned bankruptcy case, will and hereby does move the Court
 3 for an order: (1) approving the Letter of Intent (“LOI”) with the Argo Partners II, LLC

 4 (“Argo” or “Buyer”); (2) authorizing the sale, free and clear of liens, of the Estate’s interest
 5 in all of the rights, interests and proceeds to the Debtor’s employee retention tax credits
 6 provided under section 2301 of the CARES Act (the “Assets”) to Argo; (3) determining
 7 Argo to be a “good faith” purchaser within the meaning of Bankruptcy code Section
 8 363(m); and (4) waiving the 14 day stay under FRBP 6004(h). The Debtor seeks to sell
 9 the Assets for $250,000, to an arms-length buyer. The sale shall be free and clear of all
10 liens and claims, to the extent any exist.
11         The motion is based upon the accompanying Memorandum of Points and

12 Authorities and Declaration of Anthony Mazzarella, all files and pleadings and records on
13 file in this Chapter 11 bankruptcy case or anything else of which the Court may take
14 judicial notice, and such other evidence as may be presented at the hearing on this

15 Motion.
16         PLEASE TAKE FURTHER NOTICE that the hearing to approve the Motion will be

17 held on December 7, 2022 at 10:00 a.m. before the Honorable Ernest M. Robles, U.S.
18 Bankruptcy Judge, in Courtroom “1568” of the U.S. Bankruptcy Court located at 255 E.
19 Temple St., Los Angeles, CA 90012, 15th floor.

20         PLEASE TAKE FURTHER NOTICE that per Local Bankruptcy Rule (LBR) 9013-

21 1(f), any party objecting to the relief sought in the Motion must file a written objection with
22 the Bankruptcy Court and must serve such objections upon counsel listed above, and the
23 Office of the United States Trustee, at the Office of the U.S. Trustee, 915 Wilshire Blvd.,
24 Suite 1850, Los Angeles, California 90017, not later than 14 days before the date set for
25 hearing. Failure to file and serve a timely written opposition may be deemed to constitute
26 consent to the relief requested in the Application, per LBR 9013-1(h).
27                WHEREFORE, the Debtor respectfully requests this Court to enter an order:

28                1.     Granting this Motion in its entirety;

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 1             2.    Approving the LOI with Buyer;

 2             3.    Approving the proposed sale of the Assets;

 3             4.    Determining Buyer to be a “good faith” purchaser within the meaning

 4                   of Bankruptcy code Section 363(m);

 5             5.    Waiving the 14 day stay under FRBP 6004(h).

 6             6.    Authorizing the Debtor to take all steps required and/or contemplated

 7                   to complete the proposed sale;

 8             7.    Granting such other and further relief as the Court deems just and

 9                   proper.

10 Dated: November 16, 2022                      LESLIE COHEN LAW, PC

11
12                                               By:   __/s/ Leslie A. Cohen_____

13                                                     Leslie A. Cohen
                                                       Attorneys for Debtor and Debtor
14                                                     In Possession
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2                                         I. INTRODUCTION

 3         Mylife.com, Inc., the Chapter 11 Debtor and Debtor-in-Possession in the above

 4 referenced case herein (“Debtor”), seeks an order: (1) approving the Letter of Intent
 5 (“LOI”) with Argo Partners II, LLC (“Argo” or “Buyer”); (2) authorizing the sale, free and
 6 clear of liens, of the Estate’s interest in all of the rights, interests and proceeds to the
 7 Debtor’s employee retention tax credits provided under section 2301 of the CARES Act
 8 (the “ERTCs” or the “Assets”) to Argo; (3) determining Argo to be a “good faith” purchaser
 9 within the meaning of Bankruptcy code Section 363(m); and (4) waiving the 14 day stay
10 under FRBP 6004(h). The Debtor seeks to sell the Assets for $250,000, to Argo, which is
11 an arms-length buyer. The sale shall be free and clear of all liens and claims, to the extent
12 any exist.
13                                   II. FACTUAL BACKGROUND

14         The Debtor is an information brokerage firm which gathers information through

15 public records and other sources to automatically generate a "MyLife Public Page" for
16 each person. See attached Declaration of Anthony Mazzarella (“Mazzarella Decl.”).
17         On September 2, 2022 (the “Petition Date”), the Debtor filed for Chapter 11

18 bankruptcy protection in the United States Bankruptcy Court for the Central District of
19 California, Los Angeles Division (the “Bankruptcy Court”), bearing case number 2:22-bk-

20 14858-ER (the “Bankruptcy Case”). Debtor continues to manage its affairs and operate
21 as a debtor-in-possession. To date, no trustee, examiner or committee has been
22 appointed in this Bankruptcy Case.
23         The Debtor’s bankruptcy was precipitated by multiple lawsuits, including a case

24 referred to as he Rancourt Action as well as litigation with the FTC, which required
25 excessive payments to the FTC that were not sustainable. These and other pre-petition
26 lawsuits have been stayed as to the Debtor pursuant to 11 USC section 362.
27         As indicated on Debtor’s Schedule “B,” its assets include the Debtor’s employee

28 retention tax credits provided under section 2301 of the CARES Act (the “Assets”) in the

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 1 amount of $299,858.83, which it expects to receive sometime in 2023. See Docket No.
 2 24, p. 25. Pursuant to this Motion, Debtor is seeking to sell the Assets to Argo for
 3 $250,000.

 4                     III. SUMMARY OF PROPOSED SALE AND PROCEDURES

 5            Pursuant to the LOI attached hereto as Exhibit A and incorporated herein by

 6 reference, the terms of the sale per the LOI are generally as follows:
 7        a. Argo shall purchase the Assets, consisting of the Debtor’s ERTCs due to the

 8            Debtor in the amount of $299,858.83;

 9        b. The Purchase Price for the proposed sale is $250,000.00 (the “Purchase Price”);

10        c. Expenses of each party to be borne by each respective party, except that if the

11            Court requires over-bidding and ARGO is not the ultimate purchaser, then ARGO

12            shall be entitled to a Break Up Fee representing its transaction costs in this matter,

13            to be capped at $10,000.00;

14        d. The sale shall be free and clear of all liens and claims to the extent any exist; and

15        e. Upon Court approval of these terms, Debtor and the Buyer are to execute any and

16            all documents necessary to effectuate the sale and assignment1 of Debtor’s entire

17            interest in the Assets to the Buyer.

18            The Debtor respectfully submits that the Assets have already been submitted to a

19 competitive bidding process, and establishing a further bidding procedure is not necessary

20 for the sale of the Assets. Specifically, the Debtor seeks to sell the Assets to Argo, which
21 is an arms-length purchaser, after negotiations with multiple prospective
22 purchasers/lenders. Moreover, the Debtor solicited competitive bids from other buyers but
23 received no offers. The Debtor believes that the price, in its business judgment, is fair and
24 reasonable under the circumstances, and in the best interests of the Debtor’s estate and
25 creditors, because 1) it will bring much needed cash into the estate and 2) Debtor is
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27
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28       Assignment Agreement yet to be drafted per LOI.

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 1 informed that it can take up to 2 years or more for the IRS to pay the ERTCs. There are
 2 no secured creditors with any interest in the Assets.
 3          Further, the sale shall be free and clear of all liens and claims, to the extend any

 4 exist.
 5          The Mazzarella Declaration also supports that the Debtor did not receive any other

 6 offers from other potential buyers, and the Debtor has concluded after a detailed analysis
 7 that the current offer is the best possible sale price of Assets, and that the Debtor
 8 believes, in its sound business judgment, the sale to be fair and equitable, for the best
 9 price and is in the best interests of the estate. Debtor therefore respectfully submits that
10 the LOI should be approved without a separate and alternative overbid process taking
11 place, and that in light of the terms of sale and the arms-length nature of the proposed
12 Buyer, Debtor respectfully submits that the Court should approve the proposed sale of the
13 Assets. At the same time, the Debtor is providing notice of the sale to creditors and
14 parties in interest so they can object and offer evidence if they disagree.

15          Additionally, the Debtor is seeking a determination that the ultimate buyer of the

16 Assets is a “good faith purchaser” for the purposes of Section 363(m) of the Bankruptcy
17 Code. Debtor also requests that the stay provided by Rule 6004(h) of the Federal Rules
18 of Bankruptcy Procedures be waived and no fourteen (14) day stay be in effect after entry
19 of the order granting this Motion.

20                                          IV. DISCUSSION

21             a. The Court Should Authorize The Debtor To Sell The Property Pursuant

22                 To The Terms Of The Sale

23          Bankruptcy Code Section 363(b)(1) authorizes the trustee or debtor in possession,

24 after notice and a hearing, to use, sell or lease property of the estate outside the ordinary
25 course of business. One commentator observes that:
26          [i]n determining whether to approve a proposed sale under section 363,
            courts generally apply standard that represent essentially a business
27          judgment test. Some courts have described the standard as one of “good
            faith” or of whether the transaction is “fair and equitable.” Others question
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 1          whether the sale is “in the best interest of the estate.” (Citations omitted.) 3
            Collier on Bankruptcy Paragraph 363.02[1][f].
 2
            While the Debtor believes the sale is not outside the ordinary course of business, it
 3
     is bringing this Motion out of an abundance of caution and in an effort to make full
 4
     disclosure. If the sale were to be considered outside of the ordinary course, the proposed
 5
     sales pass muster under all of the articulated standards. The Debtor believes in good
 6
     faith, as supported by the attached Mazzarella Declaration, that the transaction is more
 7
     than “fair and equitable” to the creditors of the estate, and thus in the best interest of the
 8
     estate. The Mazzarella Declaration also supports that no “over-bidders” have contacted
 9
     the Debtor, and that the Debtor believes, in its sound business judgment, the sale to be
10
     more than fair and equitable, for the best price, and that there are no viable alternative
11
     purchasers. The Debtor believes the sale price reflects market conditions and brings in
12
     the most money possible to the estate. In addition to the fact that this sale will bring
13
     much-needed cash into the estate, the Debtor is informed that if it does not sell the
14
     Assets, in can take up to 2 years or more for the IRS to pay the ERTC to the Debtor.
15
     Moreover, sale of the Assets free and clear is appropriate because the Debtor is not
16
     aware of any entity claiming an interest in the ERTC, so there is no interest to dispute, nor
17
     any party whose consent is necessary.
18
            In light of the terms of sale and the nature of the proposed purchaser, the Debtor
19
     respectfully submits that the Court should approve the proposed sale of the Assets.
20
     Additionally, the Debtor requests that the Court approve the sale pursuant to Section
21
     363(b)(1) and 363(f), free and clear of any liens, claims and encumbrances, as
22
     contemplated by the LOI, and provide that any and all liens and claims attach to sale
23
     proceeds, to the extent any exist. Debtor requests authority to transfer free and clear title
24
     to its buyer and believes that doing so is appropriate under the circumstances.
25
                   c. The Court Should Find That The Buyers Are A Good Faith
26
                       Purchaser Within The Meaning Of 11 U.S.C. § 363(m)
27
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 1         Bankruptcy Code Section 363(m) provides that a purchaser of property of the

 2 estate is protected from the effects of a reversal on appeal of the authorization to sell or
 3 leas as long as the purchaser acted in good faith and the appellant failed to obtain a stay

 4 of sale. (Citations omitted) 3 Collier on Bankruptcy paragraph 363.11. The Code does
 5 not define “good faith.” Courts have found that a good faith purchase is “one who buys
 6 property…for value, without knowledge of adverse claims,” and that lack of good faith is
 7 typically shown by “fraud, collusion between the purchaser and other bidders or the
 8 trustee, or an attempt to take grossly unfair advantage of other bidders.” Id.
 9         As set forth in the Mazzarella Declaration, the Buyer is not an insider of the Debtor,

10 and the offer was negotiated at arms-length and in good faith. There is no hint of any
11 fraud or collusion or other absence of good faith. The Debtor has not received any offers
12 that would result in greater value to the estate than the Buyer’s LOI, despite its efforts to
13 do so. In Debtor’s sound business judgment, the offer will maximize value to the estate.
14         Additionally, the Debtor is seeking a determination that the ultimate buyer of the

15 Assets is a “good faith purchaser” for the purposes of Section 363(m) of the Bankruptcy
16 Code. Such a finding is warranted because the Debtor intends to sell the Assets to an
17 independent third party, arms-length buyer at prices that are reasonable and negotiated.
18 As set forth in the Mazzarella Declaration, the Buyer is third-party, arms-length purchaser
19 entitled to the projections of Section 363(b).

20                d. The Court Should Waive the 14-day Stay provided by Rule 6004(h)

21         Debtor also requests that the stay provided by Rule 6004(h) of the Federal Rules of

22 Bankruptcy Procedures be waived and no fourteen (14) day stay be in effect after entry of
23 the order granting this Motion. Good cause exists for this waiver, as it will allow the sale
24 to bring much needed cash into the estate before the holidays.
25         Accordingly, the Court should find the ultimate Buyer to be a Good Faith Purchaser

26 under Section 363(m).
27 //
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 1                                        V. CONCLUSION

 2        As set forth more fully above, and for the reasons herein, the Debtor respectfully

 3 request that the Court enter an order (1) granting this Motion, (2) approving the Debtor’s

 4 proposed LOI with Argo, (3) authorizing the sale, free and clear of liens, of the Estate’s
 5 interest in the Assets, (4) determining Argo to be a “good faith” purchaser within the
 6 meaning of Bankruptcy code Section 363(m), (5) waiving the 14 day stay under FRBP
 7 6004(h), and (6) any other relief the Court shall deem just and proper under the
 8 circumstances.
 9 Dated: November 16, 2022                                 LESLIE COHEN LAW, PC

10                                                    ____/s/ Leslie A. Cohen_____________
                                                      Leslie A. Cohen
11                                                    Attorneys for Debtor and Debtor in
                                                      Possession
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 1                          DECLARATION OF ANTHONY MAZZARELLA

 2
            I, Anthony Mazzarella, hereby declare as follows:
 3
            1.   I am over 18 years of age. I am the CFO of Mylife.com, Inc., the Debtor and
 4
     Debtor-in-Possession (“Debtor”) in the above-captioned bankruptcy case. Unless
 5
     otherwise stated, I have personal knowledge or information of the facts set forth herein
 6
     and, if called as a witness, could and would testify competently thereto. Where
 7
     statements are made upon information and belief, I believe them to be true and correct.
 8
            2.   I make this declaration in support of the Debtor’s (1) To Approve Letter of
 9
     Intent, (2) For Authority To Sell Estate’s Interest In Employee Retention Tax Credits (3)
10
     Determining The Buyer To Be A “Good Faith” Purchaser Within The Meaning Of
11
     Bankruptcy Code Section 363(M) (“Motion”). Where capitalized terms herein are
12
     undefined, they shall have the same meaning as in the Motion.
13
            3.   By the preceding Motion, the Debtor seeks an order: seeks an order: (1)
14
     approving the Letter of Intent (“LOI”) with the Argo Partners II, LLC (“Argo” or “Buyer”);
15
     (2) authorizing the sale, free and clear of liens, of the Estate’s interest in all of the rights,
16
     interests and proceeds to the Debtor’s employee retention tax credits provided under
17
     section 2301 of the CARES Act (the “ERTCs” or the “Assets”) to Argo; (3) determining
18
     Argo to be a “good faith” purchaser within the meaning of Bankruptcy code Section
19
     363(m); and (4) waiving the 14 day stay under FRBP 6004(h). The Debtor seeks to sell
20
     the Assets for $250,000 to Argo, which is an arms-length buyer. The sale shall be free
21
     and clear of all liens and claims, to the extent any exist.
22
            4.   The Debtor is an information brokerage firm which gathers information through
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     public records and other sources to automatically generate a "MyLife Public Page" for
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     each person.
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 1             5.   On September 2, 2022 (the “Petition Date”), the Debtor filed for Chapter 11

 2 bankruptcy protection in the United States Bankruptcy Court for the Central District of
 3 California, Los Angeles Division (the “Bankruptcy Court”), bearing case number 2:22-bk-

 4 14858-ER (the “Bankruptcy Case”). Debtor continues to manage its affairs and operate
 5 as a debtor-in-possession. To date, no trustee, examiner or committee has been
 6 appointed in this Bankruptcy Case.
 7             6.   The Debtor’s bankruptcy was precipitated by multiple lawsuits, including the a

 8 case referred to as the Rancourt Action, as well as litigation with the FTC, which required
 9 excessive payments to the FTC that were not sustainable. These and other pre-petition
10 lawsuits have been stayed as to the Debtor pursuant to 11 USC section 362.
11             7.   Pursuant to the LOI, a true and correct copy of which is attached hereto as

12 Exhibit A and incorporated herein by reference, the terms of the sale per the LOI are
13 generally as follows:
14                  a. Argo shall purchase the Assets, consisting of the Debtor’s ERTCs due to the

15                     Debtor in the amount of $299,858.83;

16                  b. The Purchase Price for the proposed sale is $250,000.00 (the “Purchase

17                     Price”);

18                  c. Expenses of each party to be borne by each respective party, except that if

19                     the Court requires over-bidding and ARGO is not the ultimate purchaser,

20                     then ARGO shall be entitled to a Break Up Fee representing its transaction

21                     costs in this matter, to be capped at $10,000.00;

22                  d. The sale shall be free and clear of all liens and claims to the extent any

23                     exist; and

24                  e. Upon Court approval of these terms, Debtor and the Buyer are to execute

25                     any and all documents necessary to effectuate the sale and assignment2 of

26                     Debtor’s entire interest in the Assets to the Buyer.

27
28
     2   Assignment Agreement yet to be drafted per LOI.

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 1         8.   The Debtor respectfully submits that the Assets have already been submitted

 2 to a competitive bidding process, and establishing a further bidding procedure is not
 3 necessary for the sale of the Assets. Specifically, the Debtor seeks to sell the Assets to

 4 Argo, which is an arms-length purchaser after negotiations with multiple prospective
 5 purchasers/lenders. Moreover, the Debtor solicited competitive bids from other buyers but
 6 received no offers. The Debtor believes that the price, in its business judgment, is fair and
 7 reasonable under the circumstances, and in the best interests of the Debtor’s estate and
 8 creditors because 1) it will bring much needed cash into the estate and 2) Debtor is
 9 informed that it can take up to 2 years or more for the IRS to pay the ERTCs. There are
10 no secured creditors with any interest in the Assets.
11         9.   While the Debtor believes the sale is not outside the ordinary course of

12 business, it is bringing this Motion out of an abundance of caution and in an effort to make
13 full disclosure. If the sale were to be considered outside of the ordinary course, the
14 proposed sales pass muster under all of the articulated standards. The Debtor believes in

15 good faith that the transaction is more than “fair and equitable” to the creditors of the
16 estate, and thus in the best interest of the estate. No “over-bidders” have contacted the
17 Debtor, and the Debtor believes, in its sound business judgment, the sale to be more than
18 fair and equitable, for the best price, and that there are no viable alternative purchasers.
19 The Debtor believes the sale price reflects market conditions and brings in the most

20 money possible to the estate. In addition to the fact that this sale will bring much-needed
21 cash into the estate, the Debtor is informed that if it does not sell the Assets, in can take
22 up to 2 years or more for the IRS to pay the ERTCs to the Debtor. Moreover, sale of the
23 Assets free and clear is appropriate because the Debtor is not aware of any entity
24 claiming an interest in the ERTCs, so there is no interest to dispute, nor any party whose
25 consent is necessary.
26         10. The Buyer is not an insider of the Debtor, and the offer was negotiated at arms-

27 length and in good faith. There is no hint of any fraud or collusion or other absence of
28 good faith. The Debtor has not received any offers that would result in greater value to

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 1 the estate than the Buyer’s LOI, despite its efforts to do so. In Debtor’s sound business
 2 judgment, the offer will maximize value to the estate.
 3        I declare under penalty of perjury under the laws of the United States that the

 4 foregoing is true and correct.
 5                                           Friday Harbor, WA
          Executed on November 16, 2022 at _________________________

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 7                                               _____________________________
                                                    Anthony Mazzarella, CFO
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                              EXHIBIT A
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                                      Argo Partners II, LLC


November 11, 2022

Mylife.com Inc.
5161 Lankershim Blvd
Ste 250
North Hollywood, CA 91601

Leslie A Cohen
Leslie Cohen Law PC
1615-A Montana Ave
Santa Monica, CA 90403
Email: leslie@lesliecohenlaw.com


Re: Purchase of Employee Retention Tax Credits

        The purpose of this letter of intent (“LOI”) is to set forth the basic terms and conditions
upon which Argo Partners II, LLC and/or its assigns (“Purchaser”), is willing to purchase from the
bankruptcy estate of Mylife.com, Inc. (“Debtor,” or “Seller”), and Seller is willing to sell to
Purchaser, all of the rights, interests and proceeds of the Debtor’s employee retention tax credits
provided under section 2301 of the Coronavirus Aid, Relief, and Economic Security Act (“CARES
Act”) as amended, (the “Transaction”). This LOI is not intended to be a binding offer or agreement,
but, rather, an expression of the intent of Seller and Purchaser.

        We understand that Seller has filed a voluntary petition for relief under Chapter 11 of Title
11 of the United States Code (the “Bankruptcy Code”) which case is pending in the United States
Bankruptcy Court for the Central District of California, Case No. 22-14858 (the “Bankruptcy
Court”), and that the Transaction must be approved by the Bankruptcy Court.

       1.      Assets. Seller will sell to Purchaser and Purchaser will purchase from
               Seller, all of the rights, interests and proceeds to the Debtor’s employee
               retention tax credits (listed below) provided under section 2301 of the
               CARES Act, as amended, for the time periods listed below (collectively,
               the “Assets” or “ERTCs”) free and clear of all liens, claims, interests and
               encumbrances.

       2.      Back Up Participation and Security Interest. To the extent the
               Asserts are not transferable or assignable as a “true sale”, then the Seller
               shall grant to the Purchaser a 100% participation interest in the Assets as
               well as a back-up, fully perfected security interest in the Assets.

       3.      Legal Existence. The Debtor’s estate or its successor shall continue to
               remain in existence and in compliance with all applicable laws and rules
               until the proceeds of the ERTCs are received by the Purchaser. To the




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           extent that any proceeds of the ERTCs are received by the Seller, Seller
           shall promptly segregate and turnover such funds to Purchaser.

     4.    Representations and Warranties. The Assignment Agreement will
           contain representations and warranties customary in the secondary
           claims trading market, including but not limited to, disallowance
           provisions, clean title without setoff or encumbrances, no bad acts,
           accuracy of supporting documentation, absence of prior recovery in
           respect of the ERTCs and no engagement of any tax filer, agent,
           accountant consultant or other third-party service provider with respect
           to the ERTCs except as otherwise disclosed therein. In addition, the
           Agreement will require Seller to make information and personnel
           available or seek additional information which may be helpful in the
           prosecution, defense or settlement of the ERTCs, including any and all
           information reasonably requested by any governmental taxing authority,
           us, or our advisors

     5.    ERTC Representations. Seller represents to Purchaser that the
           aggregate amount of the ERTCs are $299,858.53.

     6.    Purchase Price; Payment. The purchase price for the Assets (the
           “Purchase Price”) shall be the Purchaser’s payment to Seller of
           $250,000.00 cash which is based on a purchase rate of 83.372649% (the
           “Purchase Rate”).

     7.    Recourse. In the event of a disallowance, reduction, subordination or
           other impairment to the ERTCs for any reason whatsoever including
           without limitation a breach of any of the terms or conditions of the
           Assignment Agreement (“Disallowance”), then Seller shall make
           immediate restitution and repayment of the proportional Purchase Price
           equal to the product of the amount of the Disallowance and the Purchase
           Rate plus interest, calculated at the rate of nine (9%) percent per annum,
           from the date of Seller’s execution of the Assignment Agreement until
           the date that such Restitution Payment is received by Purchaser (the
           “Restitution Payment”). The Restitution Payment shall be (i) granted
           administrative expense status pursuant to Section 503 of the Bankruptcy
           Code and (ii) shall be deemed secured by a super priority, perfected
           security interest in all of the Debtor’s assets until the Restitution
           Payment is received the Purchaser.

     8.    No Assumption of Liabilities. Purchaser is assuming no obligations or
           liabilities in respect of Assets, including any obligation which become
           due and owing to any tax filer or other third-party service provider as a
           result of this transaction, which obligations and liabilities shall be
           retained by, and remain the sole responsibility of, Seller. Purchaser is not
           assuming any liabilities or obligations related to taxes of any kind.




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     9.      Access for Inspections, Due Diligence. Seller will, upon the full
             execution of this LOI and continuing until the earlier of: (i) the Closing
             Date, (ii) the termination of this LOI or (iii) ten (10) business days
             (defined below)(the “Inspection Period”), provide Purchaser with access,
             during regular business hoursand upon prior notice, to all information
             and documentation in Seller’s possession related to the Assets
             reasonably requested by Purchaser or Purchaser's counsel for inspections
             and due diligence purposes. Commencing with the execution of this
             letter, representatives of, and attorneys andauditors for, Purchaser shall
             conduct a due diligence review of the relevant business activities of
             Seller, including all financial, accounting and business records, all
             contracts and to other legal documents (the “Due Diligence Review”).
             All officers, directors, managers and employees of Seller shall cooperate
             fully in respect of the Due Diligence Review. Purchaser retains the right
             to terminate theTransaction at any time during the Inspection Period

     10.     No Material Adverse Change. Between the date hereof and the Closing
             Date, there shall be no material adverse change to the value of or the
             Debtor’s rights to the Assets.

     11.     Conditions to Closing. The Closing of the purchase and sale of the
             Assets will be subject, among other things, to the following conditions:

             (a)     Seller will, at the Closing, have and convey to Purchaser by bill of
                     sale withspecial warranty of title, good and marketable title to the
                     Assets, free and clear of all liens, claims, interests and
                     encumbrances, and it can be duly assigned to Purchaser, to
                     Purchaser’s sole satisfaction;

             (b)     Seller and Purchaser will have entered into the Assignment
                     Agreement described below on terms and conditions reasonably
                     satisfactory toSeller and Purchaser;

             (c)     The Bankruptcy Court shall have approved the Transaction in
                     accordance with the provisions contained in this LOI and the
                     Assignment Agreement.

             If any of the conditions to the Closing provided for in this paragraph are
             not satisfied by the Closing Date (hereinafter defined), the Purchaser will
             have the right and option to terminate the Assignment Agreement by
             written notice to the Seller if the failure of such condition was not within
             the control of the party seekingtermination.

   12.     Closing. The closing of the purchase and sale of the Assets (the “Closing”),
           will take place on a date mutually acceptable to Seller and Purchaser but
           no later than twenty (20) days after the entry of the Final Order (as herein
           defined) and the conditions to closing having been satisfied (the “Closing



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         Date”), at a location mutually acceptable to Seller and Purchaser. The
         Seller and Purchaser may agree to extend the date for Closing. At the
         Closing, the following will occur:

                   (a)    Seller will convey and deliver to Purchaser good and
                          marketable title to theAssets, free and clear of any liens,
                          claims and encumbrances; and

                   (b)    Purchaser will deliver to Seller the Purchase Price.

   13.   Purchaser Protection Provisions. As a condition to Purchaser's
         participation in the Transaction, Seller shall provide Purchaser, subject to
         Bankruptcy Court approval, the following Purchaser Protection
         (collectively, the “PurchaserProtection Provisions”):


           (a)     Break-Up Fee. Sellershall pay Purchaser, if Purchaser is prepared
                   to consummate the Transactionoutlined herein, $10,000.00 (the
                   “Break-Up Fee”) in cash as compensation for the time and
                   expenses incurred in the event the Assets are sold to anyother
                   entity or any plan is confirmed in the Bankruptcy Case (as
                   hereinafter defined) which does not involve Purchaser or does
                   not provide for Purchaser to be the acquiring entity for the Assets
                   or the Seller’s business (an “Alternative Disposition”).

           (b)     Reservation of Equitable Rights and Remedies. The payment of
                   the Break-Up Fee shall not in any way limit any of Purchaser's
                   equitable rights or remedies against Seller, and Purchaser
                   reserves such rights and the right to pursue its remedies in equity
                   against Seller or any other third party.

           (c)     Other Bids.

                   1.                   In the event that Seller shall receive any
                   offer, proposal or inquiry regarding an Alternative Disposition,
                   Seller shall, within one (1) business day, notify Purchaser, in
                   writing, of such proposal or offer, or any inquiryor contact with
                   any person with respect thereto (excluding any informational
                   request), and shall, in any such notice to Purchaser, indicate in
                   reasonable detail the identity of the offeror and the terms and
                   conditionsof any proposal.

                   2.                  The Seller shall not support, any transfer of
                   the Assets, so long as Purchaser is prepared to consummate the
                   Transaction, unless such other transaction (i) provides an
                   aggregate present value of at least $15,000.00 higher than the



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                   present value of the Transaction to Seller’ estate, and (ii)
                   provides for payment to Purchaser of the Break-Up Fee. For
                   purposes hereof, the aggregate present value of the Transaction
                   shall be deemed to be $260,000.00. Such payment describe in (ii)
                   above shall be granted administrative expense priority in Seller’s
                   estate and shall besecured by a first priority lien on the Assets.

           (d)     Administrative Expense Status. The Break-Up Fee (as
                   applicable) shall constitute first priority administrative expenses
                   of Seller pursuant to § 503 of the Bankruptcy Code, shall be
                   secured by a valid and enforceable senior lien on all of Seller’
                   assets, and shall be paid by Seller upon demand from Purchaser.
                   From and after such demand, until payment in full of the Break-
                   Up Fee, as applicable, interest shall accrue on any unpaid portion
                   at a rate per annum equal to 9% per annum. Notwithstanding
                   anything contained herein tothe contrary, the Break Up Fee shall
                   only be due and payable from the proceeds from another sale
                   transaction related to some or all of the Assets.

     14.   Bankruptcy Court Approval. Purchaser and Seller hereby
           acknowledge that Seller is currently a debtor in a case under the
           Bankruptcy Code. Seller shall, within five (5) days, file a motion with
           the Bankruptcy Court pursuant to Federal Rule of Bankruptcy Procedure
           9013 and Sections 363 and 365 of the Bankruptcy Code (the “Sale
           Motion”) seeking (i) approval of this LOI and approval of the
           Assignment Agreement and entry of an Order approving the sale of the
           Assets to Purchaser, free and clear of all liens, claims, security interests,
           interests, and encumbrances pursuant to Section 363 of the Bankruptcy
           Court. Seller shall use its best efforts to obtain Bankruptcy Court
           approval of the Sale Motion as soon as practicable; provided, however,
           if a Final Order (as hereinafter defined) of the Bankruptcy Court is not
           obtained on or before December 15, 2022, Purchaser may terminate the
           Transaction. The Assignment Agreement shall be subject to entry of a
           Final Order of the Bankruptcy Court (“Final Order”) approving the (i)
           Sale Motion, (ii) the Assignment Agreement, and (iii) the sale of the
           Assets to Purchaser free and clear of all liens, claims, interests, and
           encumbrances, in the form and substance approved by Purchaser. As a
           condition to Purchaser’s obligations hereunder, the Bankruptcy Court
           shall have entered a Final Order approving the sale in a form and
           substance acceptable to Purchaser, as to which no appeals or motions for
           rehearingare pending and as to which no stay is issued and the time for
           filing same has expired; provided, however, if an appeal or motion for
           rehearing is pending, Purchaser may waive the requirement for a Final
           Order and close the Transaction provided there is no stay of the effects
           of such Final Order.




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       15.    Confidentiality. All information furnished to Purchaser in connection
              with the Due Diligence Review that is identified in writing by Seller as
              being confidential shall be held by Purchaser as proprietary information
              of Seller (the “Proprietary Information”). The Proprietary Information
              shall not include, however, information that has been disclosed to the
              public by Seller or that is currently knownto Purchaser. Any Proprietary
              Information that is subsequently disclosed to the public by Seller shall
              lose its character as proprietary information at the time of disclosure.
              Purchaser and Seller shall, and shall cause each of their respective
              directors, officers, partners, employees, representatives and agents, to
              hold in strictest confidence and not use in any manner whatsoever, other
              than as contemplated by this LOI, (a) any confidential information of the
              otherparty, including any trade secrets or other information not generally
              available to thepublic, and (b) the terms and provisions of this LOI to any
              third parties, except to the Bankruptcy Court and creditors in the
              Bankruptcy Case, and their professionals and advisors.

       16.    Professional Fees. Except as provided in paragraph 13 hereof, each of
              Seller and Purchaser will pay for the costs of their own professional
              advisors, including attorneys, accountants, and financial advisors
              associated with this Transaction.

       17.    Assignability. This LOI shall not be assignable by either Seller or
              Purchaser, except with the prior written consent of the other party;
              provided, however, Purchaser may assign its rights to an affiliate or any
              entity owned in wholeor in part by Purchaser and/or its affiliates. Any
              permitted assignment shall not release the assigning party of any of its
              obligations under thisLOI.

       18.    Formal Assignment Agreement. Seller and Purchaser will enter into a
              formal Assignment Agreement incorporating the terms and conditions
              contained in this LOI. The formal Assignment Agreement will contain
              such additional terms and conditions, including without limitation,
              representations, warranties, covenants, indemnifications, conditions to
              closing and other provisions consistent with the terms of this LOI as are
              typically included in an asset purchase agreement for a transaction of the
              type, size and nature described in this LOI. Seller and Purchaser agree to
              negotiate in good faith to complete the Assignment Agreement on or
              before ten (10) days after the expiration of the Inspection Period. Unless
              waived by the Purchaser, if the Assignment Agreement has not been
              executed by ten (10) daysafter the Inspection Period stated herein and
              filed with the Bankruptcy Court, the understandings set forth in this LOI
              shall expire and the parties shall have no further obligations to each other.


      Neither Seller nor Purchaser shall be obligated toproceed with the Transaction
contemplated by this LOI until the definitive Assignment Agreement has been fully




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executed and delivered.

       The agreements contained herein supercede all prior agreements relating to the
subject matter hereof. The parties to this LOI agree that this letter agreement may be
executed in multiple originals, each of which will be considered an original for all
purposes. The parties tothis LOI further agree that facsimile or copies of signature sent
by electronic mail may be considered an original for all purposes, including, but not
limited to, execution of this LOI and enforcement of this LOI.

       If the foregoing terms and conditions are acceptable to you as the basis upon
which Purchaser will purchase and Seller will sell the Assets, please so indicate by
signing a copy of thisLOI in the space provided for your signature, and returning a fully
executed copy to the undersigned. Upon receipt of a fully executed copy of this LOI,
we will instruct our counsel to proceed with the preparation of the initial draft of the
Assignment Agreement.

       This letter will expire and become invalid unless executed by Seller prior to 4:30
p.m., New York time on November 12, 2022.

       We look forward to hearing from you and working toward a successful
conclusion of thisTransaction.


Sincerely yours,



Matthew Binstock, Senior Vice-President
Argo Partners II, LLC


ACCEPTED AND AGREED to
this 16th day of November, 2022:

By:
Name:    Anthony Mazzarella
Title:   CFO




NYACTIVE-22161060.1




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    1615-A Montana Avenue, Santa Monica, CA 90403
A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION BY DEBTOR IN
POSSESSION (1) TO APPROVE LETTER OF INTENT, (2) FOR AUTHORITY TO SELL ESTATE’S INTEREST IN
EMPLOYEE RETENTION TAX CREDITS (3) DETERMINING THE BUYER TO BE A “GOOD FAITH” PURCHASER
WITHIN THE MEANING OF BANKRUPTCY CODE SECTION 363(M); MEMORANDUM OF POINTS AND AUTHORITIES
IN SUPPORT THEREOF; DECLARATION OF ANTHONY MAZZARELLA will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
___11/16/22, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
        Shraddha Bharatia notices@becket-lee.com
        Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
        Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;jessica@lesliecohenlaw.com
        Leah Victoria Lerman leah.v.lerman@usdoj.gov
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ___11/16/22__, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                             Service information continued on attached
page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                                                                             Service information continued on attached
page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  11/16/22                            Jessica Spagnoli                                           /s/ Jessica Spagnoli
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                                    United States Trustee
                                                                    915 Wilshire Blvd, Suite 1850
Hon. Ernest M. Robles                                               Los Angeles, CA, 90017
US Bankruptcy Court               Mylife.com Inc.
255 E. Temple Street              1100 Glendon Ave.                 Argo Partners II, LLC
Suite 1560                        17th Floor                        c/o Gregory Plotko​​
Los Angeles, CA, 90012            Los Angeles, CA, 90024            Crowell & Moring LLP
                                                                    590 Madison Ave, 20th Floor
                                             Secured                New York, NY 10022
Bank Of The West
475 Sansome St. Floor 19          Dell Financial Services LLC        EMC Corporation
San Francisco, CA, 94111          Payment Processing Center          176 South St.
                                  P.O. Box 5292                      Hopkinton, MA, 01748
De Lage Landen Financial          Carol Stream, IL, 60197-5292
Services, Inc.
P.O. Box 41602
Philadelphia, PA, 19101-1602


                                       20 Largest Unsecured

USDOJ
Consumer Protection Branch         DE Park Avenue 1100, LLC             Monika Cichowlas
Attn: Zachary A. Dietert           10866 Wilshire Blvd. Suite 270       8545 N Capital of Texas Hwy, Apt 2
450 5th Street, N.W.               Los Angeles, CA, 90024               Austin, TX, 78759
Ste. 6400-South
Washington, DC, 20530              Morrison & Foerster LLP              John Bonell
                                   P. O. Box 742335                     1107 W. Pendleton Place
DLA Piper LLP                      Los Angeles, CA, 90074-2335          Mt. Prospect, IL, 60056
P.0. Box 75190
Baltimore, MD, 21275               Validity Inc.                        Accertify, Inc.
                                   DEPT CH 17384                        25895 Network Place
Epstein Becker & Green, P.C.       Palatine, IL, 60055-7384             Chicago, IL, 60673-1258
875 Third Avenue
New York, NY, 10022                TransUnion Risk and Alternative      Nixon Peabody LLP
                                   Solutions, Inc.                      Attn: Felicia McClendon
Lexis Nexis                        P. O. Box 209047                     One California Plaza
28330 Network Place                Dallas, TX, 75320-9047               300 South Grand Ave. Ste. 4100
Chicago, IL, 60673-1283                                                 Los Angeles, CA, 90071
                                   Protiviti Inc
Google Inc.                        12269 Collections Center Drive       InboxAlly Inc.
P.O. Box 883654                    Chicago, IL, 60693                   1178 Broadway, 3rd floor #1166
Los Angeles, CA, 90088-3654                                             New York, NY, 10001
                                   Ethoca Limited
Mayer Brown LLP                    100 Sheppard Avenue East, Suite 6 Mississippi Tornado Alley LLC
2027 Collection Center Dr          Toronto, Canada                   1915 21st Street
Chicago, IL, 60693-0020            ON M2N 6N5                        Sacramento, CA, 95811

Zaius, Inc.                        Maribel Deyerler
205 Portland Street 6th Floor      121 West Hillgrove Ave, Unit 45
Boston, MA, 2114                   La Grange, IL, 60525
